             Case 9:20-cr-00032-DWM                Document 188-20   Filed 02/25/22   Page 1 of 7




5536            SMS - Sent                                                                              SMS
       Description: (No description)
       From: Me <+18123058776>                                             Time stamp
                                                                           (Device time   4/6/2018 6:23:44 PM
                                                                           +00:00):
       To: Chief         <+                >

       Remote party: Chief          <+                 >

       Direction: Outgoing                     Read status: Read            Deleted: No

       Of course. Technical malfunction.

5537            SMS - Inbox                                                                             SMS
       Description: (No description)
       From: Chief            <+                                           Time stamp
                                                                           (Device time   4/6/2018 6:13:59 PM
                                                                           +00:00):
       To: Me <+18123058776>

       Remote party: Chief          <+                 >

       Direction: Incoming                     Read status: Read            Deleted: No

       That can be arranged, recording off of course




                                                                                                   310 1509
                                                                                             20-32-M-DWM
             Case 9:20-cr-00032-DWM                Document 188-20           Filed 02/25/22        Page 2 of 7




5540            SMS - Sent                                                                                               SMS
       Description: (No description)
       From: Me <+18123058776>                                                        Time stamp
                                                                                      (Device time       4/6/2018 6:00:36 PM
                                                                                      +00:00):
       To: Chief          <+               >

       Remote party: Chief            <+               >

       Direction: Outgoing                     Read status: Read                       Deleted: No

       Yes sir. For sure. And it will help with keeping     on task. He often times needs my foot in his ass to be timely.

       Also, I didn't see your vm about shit head calling about turning himself in. Me and all the boys were out last night
       hitting all the hot spots you told me about hoping to run into him. If he does turn himself in at your department I'd
       sure like to have a chat with him and encourage him to relocate out of Whitefish.


5541            SMS - Inbox                                                                                              SMS
       Description: (No description)
       From: Chief             <+              >                                      Time stamp
                                                                                      (Device time       4/6/2018 5:29:38 PM
                                                                                      +00:00):
       To: Me <+18123058776>

       Remote party: Chief            <+

       Direction: Incoming                     Read status: Read                       Deleted: No

          Called me today about the ARs.                 and I are supposed to meet with him week after next. Do you
       want to be involved so we get what you think we need?




                                                                                                                             1510
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-20   Filed 02/25/22 Oxygen
                                                                                             Page     3 of 7
                                                                                                  Forensic® Detective - 11.6.2.100

5832                iMessage - Sent                                                                                 iMessage
        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time        3/17/2018 3:59:48 AM
                                                                                    +00:00):
        To:                 <+

        Remote party:                       <+             >

        Direction: Outgoing                           Read status: Read               Deleted: No

        Attachments (1)




           54292025516__E5309E4
5833       C-EB83-4355-8BAA-244A
                iMessage - Sent
           055C800E.JPG                                                                                             iMessage
        Description: (No description)
        From: Me <+18123058776>                                                     Time stamp
                                                                                    (Device time        3/17/2018 3:58:23 AM
                                                                                    +00:00):
        To:                 <+

        Remote party:                        +             >

        Direction: Outgoing                           Read status: Read               Deleted: No

        Attachments (1)




           54292008243__48FE10A




                                                                                                                             1592
             Case 9:20-cr-00032-DWM                Document 188-20         Filed 02/25/22         Page 4 of 7




5839            SMS - Inbox                                                                                           SMS
       Description: (No description)
       From: Chief             <+             >                                    Time stamp
                                                                                   (Device time      3/16/2018 6:46:02 PM
                                                                                   +00:00):
       To: Me <+18123058776>

       Remote party: Chief            <+                >

       Direction: Incoming                    Read status: Read                      Deleted: No

       Yes, I'm skiing give         a call he can send it to u.

5840            SMS - Sent                                                                                            SMS
       Description: (No description)
       From: Me <+18123058776>                                                     Time stamp
                                                                                   (Device time      3/16/2018 5:36:02 PM
                                                                                   +00:00):
       To: Chief          <+

       Remote party: Chief            <+                >

       Direction: Outgoing                    Read status: Read                      Deleted: No

       Good morning Chief- any chance you can send me the mugshot of shit head 1 & 2 so the guys can see a clear
       photo for ID'ing them in case they make contact. I won't be shocked if he gets arrested that he won't go looking for
                to try and scare her.




                                                                                                                        1594
             Case 9:20-cr-00032-DWM                Document 188-20            Filed 02/25/22         Page 5 of 7




5877            SMS - Inbox                                                                                               SMS
       Description: (No description)
       From: Chief             <+                                                     Time stamp
                                                                                      (Device time       3/14/2018 5:45:01 PM
                                                                                      +00:00):
       To: Me <+18123058776>

       Remote party: Chief            <+

       Direction: Incoming                     Read status: Read                        Deleted: No

       I'm sure that could be arranged

5878            SMS - Sent                                                                                                SMS
       Description: (No description)
       From: Me <+18123058776>                                                        Time stamp
                                                                                      (Device time       3/14/2018 5:44:22 PM
                                                                                      +00:00):
       To: Chief          <+               >

       Remote party: Chief            <+                >

       Direction: Outgoing                     Read status: Read                        Deleted: No

       I can live with that. I'd like to have him in an interview room for about 15 mins so I can explain to him the error of
       his ways and gently persuade him to pack his shit and leave. I will get the statement to you today.




                                                                                                                                1606
                 Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                          Document 188-20    Filed 02/25/22 Oxygen
                                                                                              Page     6 of 7
                                                                                                   Forensic® Detective - 11.6.2.100

5879                SMS - Inbox                                                                                             SMS
        Description: (No description)
        From: Chief                  <+               >                              Time stamp
                                                                                     (Device time        3/14/2018 5:41:39 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+

        Direction: Incoming                           Read status: Read                Deleted: No

        I talked to her prosecutor this morning she's researching to see if she can charge anything else but not looking like
        it probably just disorderly conduct

5880                SMS - Sent                                                                                              SMS
        Description: (No description)
        From: Me <+18123058776>                                                      Time stamp
                                                                                     (Device time        3/14/2018 5:40:57 PM
                                                                                     +00:00):
        To: Chief               <+

        Remote party: Chief                    <+             >

        Direction: Outgoing                           Read status: Read                Deleted: No

        Got it

5881                SMS - Inbox                                                                                             SMS
        Description: (No description)
        From: Chief                  <+               >                              Time stamp
                                                                                     (Device time        3/14/2018 5:40:37 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read                Deleted: No

        And that she was some reasonable apprehension of her safety is really important she gets that in there and the
        safety of your daughter

5882                SMS - Inbox                                                                                             SMS
        Description: (No description)
        From: Chief                  <+               >                              Time stamp
                                                                                     (Device time        3/14/2018 5:40:15 PM
                                                                                     +00:00):
        To: Me <+18123058776>

        Remote party: Chief                    <+             >

        Direction: Incoming                           Read status: Read                Deleted: No

        As detailed as possible




                                                                                                                              1607
                Case 9:20-cr-00032-DWM
Case: 280876, IMEI: 354893094448859, Apple iPhone 8
                                                              Document 188-20   Filed 02/25/22 Oxygen
                                                                                                 Page     7 of 7
                                                                                                      Forensic® Detective - 11.6.2.100

5883                SMS - Sent                                                                                                 SMS
        Description: (No description)
        From: Me <+18123058776>                                                         Time stamp
                                                                                        (Device time        3/14/2018 5:02:46 PM
                                                                                        +00:00):
        To: Chief               <+                    >

        Remote party: Chief                    <+                 >

        Direction: Outgoing                               Read status: Read               Deleted: No

        Good morning Chief- how detailed do you want this statement from my wife?




                                                                                                                                 1608
